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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

SCOTT HUTLEY, individually and on behalf                     22-cv-00902
                                                    Case No. _ _ _ _ _ __
of all others similarly situated,

                       Plaintiff,
                                                    CLASS ACTION COMPLAINT
v.
                                                    JURY TRIAL DEMANDED
HARLEY-DAVIDSON MOTOR COMPANY
GROUP,LLC,

                       Defendant.

        Plaintiff Scott Hutley brings this class action lawsuit against Harley-Davidson Motor

Company Group, LLC ("Harley-Davidson", "Harley", or "Defendant") on behalf of himself and

the proposed Rule 23 Class (defined below) for damages. Plaintiffs make the following

allegations based on actual knowledge as to their own acts, and information and belief and the

investigation of counsel as to all other matters.

                                    NATURE OF THE ACTION

        1.      This is an antitrust action directed at Harley-Davidson's anticompetitive conduct:

Harley-Davidson used its warranty to try to force Harley owners to use its own parts, rather than

the many quality aftermarket parts available for its motorcycles.

        2.      Harley-Davidson's use of its warranty in this manner violated the Magnuson-Moss

Warranty Act and the Federal Trade Commission Act, as charged by the Federal Trade

Commission ("FTC") and admitted by Harley-Davidson in its acceptance of the consent decree it

entered with the FTC on June 22, 2022.

        3.      Harley-Davidson is one of the oldest and most recognizable vehicle brands in the

world. The company was founded in 1903 and accounts for approximately half of all roadgoing

motorcycles with engine displacements in excess of 601 cc.
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         4.       Because of the longevity and popularity of its motorcycles, and because of

customers' willingness to customize and/or keep older Harley-Davidsons on the road for many

years, there is a vast aftermarket for parts to repair and customize Harleys.

         5.       The aftermarket for Harley-compatible parts became a threat to Harley-

Davidson's bottom line. Harley-Davidson makes approximately 15% of its annual revenue from

parts. In order to maximize its parts revenue and profit, Harley-Davidson used its warranty to try

to suppress competition from aftermarket parts competitors and to force Harley owners under

warranty to use only Harley-Davidson's own parts.

         6.       Harley-Davidson illegally tied its own branded parts to its motorcycles (and the

factory warranties that go with them). As a result, Harley-Davidson has lessened competition in

the market for Harley-compatible replacement parts. This has allowed Harley-Davidson to

charge supracompetitive prices for its parts, at the expense of the consumers who buy them.

         7.       The FTC's consent decree with Harley-Davidson obtained injunctive relief to put

a stop to at least some of Harley-Davidson's illegal business practices. The FTC, however, lacks

the authority to recover consumers' damages. In this litigation, Plaintiffs seek to recover those

damages-the overpayment for Harley-brand parts-from Harley-Davidson for the proposed

consumer Class.

                                          THE PARTIES

         8.       Plaintiff Hutley is a resident of Jamestown, New York. He purchased a Harley

motorcycle from Harley-Davidson of Jamestown on July 9, 2020. Mr. Hutley purchased Harley-

Davidson-brand parts on April 6, 2021, from Harley-Davidson of Jamestown for his Harley

motorcycle.

         9.       Defendant Harley-Davidson Motor Company Group, LLC, is a Wisconsin limited

liability company with its principal place of business located at 3700 W. Juneau Ave.,


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Milwaukee, Wisconsin. Defendant also maintains factories in York, Pennsylvania; Milwaukee,

Wisconsin; and foreign locations including Brazil, India, and Thailand.

                                  JURISDICTION AND VENUE

         10.      This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. §1332(d)(2)(A), because there is more than $5 million in controversy (exclusive of interest

and costs) and there is minimal diversity.

         11.      Defendant is subject to personal jurisdiction in this District because Defendant

purposefully availed itself of the benefit of doing business in New York, including this District,

by selling its products in interstate commerce to New York and this District-where Plaintiffs

purchase of Harley-brand replacement parts (and resultant antitrust injury) in fact occurred.

         12.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to Plaintiffs claim occurred.

                                          BACKGROUND

         A.       Harley-Davidson Motorcycles

         13.      Harley-Davidson Inc. was founded in Milwaukee, Wisconsin in 1903. By 1920,

Harley-Davidson was the largest motorcycle manufacturer in the world. Along with Indian

Motorcycle Inc. ("Indian"), Harley-Davidson is one of only two American motorcycle brands to

have survived the Great Depression.

         14.      In the 1970s, Harley-Davidson faced waning popularity and near-bankruptcy in the

wake of cost-cutting measures that resulted in low-quality bikes, as well as the introduction of the

so-called Universal Japanese Motorcycle ("UJM") - a new category of very similar, accessible

motorcycles manufactured by the big four Japanese motorcycle manufacturers - Honda,

Kawasaki, Yamaha, and Suzuki; which appealed to American consumers.




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          15.      In the 1980s, Harley-Davidson turned around its business and restored its status

and image. It did so via its adoption of the large-displacement bicycle, helped expeditiously by

the Reagan administration ' s tariffs against foreign imports of this kind of model. This kind of

motorcycle was easily distinguishable from the UJM, creating a whole new separate category of

bike predominated by a single manufacturer whose brand now became shorthand for the

American motorcycle.

         B.        Harley-Davidson's Warranty

          16.      As of June 2022, Harley-Davidson sold as a bundle with its motorcycles wmrnnties

valid for twenty-four months, "stmting from the earlier of (a) the date of the initial retail purchase

and delivery of the motorcycle from an authorized Harley-Davidson dealer; or (b) the third

anniversary of the last day of the model year of the motorcycle." See Complaint, In re Harley-

Davidson        Jvlotor   Co.   Grp.,   LLC,   No.   2123140    ("FTC    Complaint"),    available   at

https://www.ftc.gov/systern/files/ftc gov/pdf/2123140HarleyDavidsonComplaint.pdf.

          17.      Harley-Davidson' s 2021 warranty stated, in relevant pm1, that:

         •         "Genuine Harley-Davidson parts are engineered and tested specifically for use on
                   your motorcycle. Insist that your authorized Harley-Davidson dealer uses only
                   genuine Harley-Davidson replacement parts and accessories to keep your Harley-
                   Davidson motorcycle and its limited warranty intact."

         •         "This limited warranty will not apply to any motorcycle ... 1. Which has not been
                   operated or maintained as specified in the owner' s manual... 4. Which has off-
                   road or competition parts installed to enhance performance, a trailer hitch, or has
                   other unapproved modifications (even if these modifications include genuine
                   Harley-Davidson pm1s and accessories that are not approved for use on your
                   motorcycle). These modifications may void all or parts of your new motorcycle
                   limited warranty. See an authorized Harley-Davidson dealer for details."

         •         The " [u]se of aftermarket performance parts may void all or parts of your limited
                   warranty. See an authorized Harley-Davidson dealer for details" and that "the use
                   of parts and service procedures other than Harley-Davidson approved parts and
                   service procedures may void the limited warranty. "

         •         In " [s]ome countries, states or other locations may require all regular maintenance
                   and service work to be done by an authorized Harley-Davidson dealer for your

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                   warranty to remain in effect. Check with your local Harley-Davidson dealer for
                   local requirements."

          C.       Warranty Coverage

          18.      Even when customers have endeavored to obey Harley-Davidson's dictate that

they only choose Harley-Davidson branded compatible parts, they still risk losing warranty

coverage, which the company seeks to limit even beyond the scope of its language.

          19.      For example, according to comments in public forums, consumers have

experienced situations where their dealers record and report repairs that ought to be covered by

their warranty as non-warranty repairs, claiming that the customer has impermissibly altered

their bike by performing modifications unrelated to the issue for which the customer has brought

in their bike, 1 including simply mounting a flag. 2

          20 .     Harley incentivizes the dealers to do this by structuring repair reimbursements -

which reportedly can be up to 30 cents on the dollar - differently depending on whether they are

reported as covered or not. Repairs will get reimbursed immediately for uncovered repairs, but

for wairnnty repairs, dealers must wait up to ninety days to be compensated. 3

          21.      By incentivizing the dealers to void warranties, thus "flipping warranty situations

into non-warranty situations,"4 Harley-Davidson is able to profit in two ways - first, by dodging

the repair labor cost, and then making the part into revenue.




1
  Harley Davidson Warranty Fraud Update with Rider Reactions, https://youtu.be/elxCLZ15I7M
at 6:40 (discussing comment by individual identified as Jim Redmond) (last visited Nov. 17,
2022).
2
  Id. at 6:30 (discussing comment by individual identified as Tim Barnett) (last visited Nov. 17,
2022).
3
    Id. at 8:20.
4
    Id. at 9:20.

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         D.            The Parts Universe

         22.           The parts at issue in this suit are those compatible with Harley-Davidson bike

models ("Compatible Parts"). Because Harley monopolizes the large American-manufactured

motorcycles market, such parts generally refer to those compatible not only with Harley

motorcycles but also with large cc American motorcycles in general. One notable differentiator

between Harley Compatible Parts and other parts (e.g., those compatible with Japanese

motorcycles) is the use of imperial or SAE units as opposed to metric units.

         23.           Many manufacturers make and sell motorcycle parts, including Compatible Parts.

Various online retailers, for example, have sections specifically labeled as Harley-Davidson

compatible under which both Harley-branded and third-party-manufactured parts are sold. Such

third-party parts, which may often be priced lower than Harley-branded parts, are a direct threat to

the revenue that Harley enjoys from its parts segment - a threat that Harley has scrambled to

control through its unlawful, anti-competitive tying scheme.

                                         TRADE AND COMMERCE

        24.            Harley sells motorcycles and parts in the United States through the flow of

interstate commerce, including through and into this District. Harley's annual revenue exceeds

$5 billion dollars, and it is the largest maker of motorcycles for the U.S. market, including

roughly a majority ofroadgoing motorcycles with engine displacements over 601cc.

         25.           Harley's business activities were intended to have and have had a substantial effect

on interstate trade and commerce in the United States, including in this District. Harley's business

activities also had a substantial effect on intrastate commerce in New York and the other states

throughout the country. There are Harley-Davidson motorcycles registered and on the road in all

fifty states and the District of Columbia. These motorcycles are frequently customized and will

eventually need repairs.


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         26.      Third parties make numerous repair parts and performance and cosmetic upgrade

parts for Barleys. Despite this, Harley-Davidson has kept a larger share of the parts market for

itself, and commanded higher prices for its repair parts, because it has used its warranty to

unlawfully force Harley owners to use its own branded parts.

                                       RELEVANT MARKET

         A.       The New Market For American-Made Large, Roadgoing Motorcycles

         27.      There are two relevant product markets in this instance. The first is the market for

motorcycles, specifically American-made, new, large roadgoing bikes, which are sold as a bundle

with factory warranties. This is the "tying market" over which Harley-Davidson has market power.

         28.      The second relevant product market is the market for Harley-Davidson Compatible

Parts. Compatible Parts are distinguishable from parts for other brands of motorcycle by their

technological compatibility. This is the "tied" market into which Harley-Davidson has captured

increased market share and charged supracompetitive prices by using its leverage in the tying

market, including in particular its warranty that does not allow owners of new Barleys under

warranty to purchase competitors' brands of Compatible Parts without the risk of voiding their

warranties.

         29.      Large, roadgoing motorcycles are a separate product market from non-roadgoing

motorcycles, and likewise American-made motorcycles are a separate product market from non-

American made motorcycles. American-manufactured, large roadgoing motorcycles thus

constitute their own separate product market.

         30.      Roadgoing motorcycles are registered with the Depaiiment of Motor Vehicles in

the state where the owner resides, and they can be ridden on the road. motorcycle that cannot be

registered cannot be legally ridden on the road, and for that reason is not a substitute. Dirt bikes,

for example, are suitable only for off-road use, serve a different function to their riders and so


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constitute a different market. Prices of di1i bikes thus do not discipline the price of large

roadgoing motorcycles, and vice versa.

        31.            Nor do small displacement motorcycles constitute part of the same market as large,

roadgoing motorcycles. Harley-Davidson makes no roadgoing bike with an engine displacement

smaller than 883cc. Smaller displacement engines are almost universal in dirt bikes, and common

in certain kinds of road bikes, including sport bikes, a market dominated by smaller Japanese

motorcycles. Smaller motorcycles, however, lack the passenger and cargo capacities of large

roadgoing motorcycles, lack the torque and horsepower that only a larger engine can offer, and

lack the look and feel of large roadgoing motorcycles. For this reason, they attract different

buyers than small displacement motorcycles. Thus, the prices of smaller bikes do not discipline

the prices of large roadgoing motorcycles, and vice versa. Harley has in fact recognized the

separateness of large roadgoing motorcycles in its public reporting, in which it defines its own

market share by roadgoing motorcycles with engine displacement larger than 601 cc.

        32.            New, large roadgoing motorcycles are sold as a bundle with manufacturer's

warranties. Manufacturers' warranties are neither useful nor available without the motorcycle

they cover. The availability and terms of manufacturer warranties distinguish new large

roadgoing motorcycles from used large roadgoing motorcycles.

        33.            Consumers have difficulty understanding the lifecycle pricing of a motorcycle. The

need for replacement parts is difficult to forecast for any given motorcycle because the need for

replacement arises from damage or wear events that are hard to predict, and because the owner has

purchased a warranty to defray these costs if they purchased a new Harley-Davidson motorcycle.

        34.            American-made motorcycles are distinguishable from non-American motorcycles,

even within the aforementioned category of large, roadgoing bikes. They are a discrete

submarket that does not experience cross-elasticity of demand with, for example, Japanese-

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manufactured large, roadgoing, motorcycles. Indeed, American-made motorcycles - both Harley

and its smaller competitors in this space - enjoyed their own dedicated publication for thirty

years with American Iron Magazine, thereby demonstrating that there was a distinct ridership

and following for American-made motorcycles, sufficient to support its own universe of print

media.

         35.       In contrast to other kinds of vehicles, like cars, for example, motorcycles elicit a

specific kind of cultural commitment from their consumers. Motorcycle riders routinely form

organizations centered around shared homes and/or cultural heritage, and the bikes that they ride

frequently serve as vehicles to express their patriotism. Indeed, Harley-Davidson offers a variety

of American flag kits and other kinds of patriotic memorabilia that can be attached to their

motorcycles or worn by riders. The consumer base of Harley-Davidson would find it incongruous

with their belief structure to ride a Japanese make of bike, even if such a motorcycle was for all

intents and purposes the same thing as Harley's version and similar or cheaper in price.

         36.       The company's loyal consumer base is organized into the so-called "Harley

Owners Group," or "HOG" - a Harley-sponsored fan club (the logo of which includes a bald

eagle) that seeks to brand Harley-Davidson as a distinctly American icon, specifically to appeal

to an all-American fan base seeking to celebrate via their motorcycles a shared national

heritage. 5 Harley-Davidson consciously created and invited this all-American branding as part of

its 1980s comeback in its effort to distinguish itself from the increasingly popular Japanese

motorcycle. As an American-based, American-manufactured brand, it was able to capture new

consumers to the world of motorcycling that would not have otherwise joined.




5      Jerry S. Wilson et al. , Jvlanaging Brand You 36 (2008), available at
https://books.google.com/books?id=L5OgZxUgVkYC&pg=PA36#v=onepage&g&f=false (last
visited Nov. 17, 2022).

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         37.           One study of Harley riders found that the group qualified as a "subculture of

consumption," or "a distinctive subgroup of society that self-selects on the basis of a shared

commitment to a particular product class, brand, or consumption activity."6 The study showed

how this burgeoning class of riders, bolstered by Harley's own marketing efforts and

establishment of its so-called Harley Owners Group, centered around Barleys as a distinctly

American form of bike. Harley enthusiasts would only purchase Japanese motorcycles as a

stopgap measure because Barleys are significantly more expensive. While other American

brands such as Indian do figure in this market, Harley's scale dwarfs these competitors and is

thus the most visible choice to these consumers who will only ride American.

        38.            If a Harley motorcycle is totaled, or breaks down beyond repair, the owner will

not shop around for its replacement - they will rather buy another Harley. While some niche

American-made alternatives, like Indian, do exist, only Barleys elicit the prestige and cache of a

distinctly American heritage brand. Their presence dwarfs any other American brand in the

market, with their nearest competitors in terms of market size being the so-called "Japanese Big

Four" (Honda, Kawasaki, Yamaha, and Suzuki), and then the German BMW. Other American

brands are comparatively unknown and do not figure in the general awareness of the American

biking community. Barleys, moreover, can be bought in an abundance of colors, makes, and

configurations.

        B.             The Compatible Parts Market

        39.            The Compatible Parts market is defined by compatibility with Harley-Davidson

motorcycles. To repair a Harley-Davidson motorcycle, the owner must purchase a Compatible




6
  John W. Schouten & James H. McAlexander, Subcultures of Consumption: An Ethnography of
the New Bikers, 22 Journal of Consumer Research, Inc. 43 (June 1995).


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Part. The prices of parts that are not compatible with Harley-Davidson motorcycles cannot and do

not discipline the prices of parts that are compatible with Harley-Davidson motorcycles.

        C.             Geographic Markets

        40.            The United States is the relevant geographic market for both large roadgoing

motorcycles and parts.

        41.            Harley-Davidson distributes its motorcycles throughout the U.S. through a

network of independently-owned, authorized dealerships.

        42.            Harley-Davidson also distributes Compatible Parts throughout the United States

through its dealer network as well as via its online website.

        D.             Barriers to Entry

        43.            There are significant barriers to entry in both relevant markets that allow Harley

to protect and maintain its market power. The first is technical and regulatory. Motor vehicles for

operation on public roads are complex and heavily regulated machines. Engineering a new make

of large, roadgoing motorcycle from scratch is an expensive engineering challenge, requiring

formidable economic backing. Effective entry into the relevant markets would require

developing expertise in design engineering in addition to obtaining certifications and approvals

necessary to U.S. road registration, including for safety and emissions.

        44.            Even a new entrant with the engineering expertise could have no guarantee of

success because of the importance of brand identity in the market. Harley-Davidson has a 119-

year-old brand. Because of the importance of brand heritage in large, roadgoing motorcycles,

most new entries by American and even British makers have been revivals of pre-WWII brands,

including American names Henderson (which failed after two years), the aforementioned Indian

(backed by offroad giant Polaris), and, among British marques, Triumph. There are only a




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limited number of available defunct American motorcycle brands that have names that would

still resonate among potential customers today.

        45.            A new entrant would also need to secure distribution, contending with the legal

restrictions many states place on road vehicle dealerships and with the existing dealer networks

that could not afford to alienate their suppliers.

        46.            The capital outlay necessary to secure a recognizable brand or build one from

scratch, to design and market a new motorcycle, and secure nationwide distribution, are very

formidable. Most major motorcycle makers in the U.S. other than Harley-Davidson (with its

venerable brand and fanatical following) have the backing and name of companies with an array

of products in markets across the globe. A new entrant to displace Harley-Davidson's dominance

would need to be prepared to bear a large initial investment and keep that capital at risk for a

protracted period to build the name necessary to become sustainable and profitable.

        47.            Harley-Davidson's own conduct challenged herein created a barrier to entry into

the Compatible Parts market. Harley-Davidson's conditioning of its warranty on the use of

Harley-Davidson parts provided a powerful disincentive to dealers stocking and riders choosing

competing Compatible Parts. A new entrant would have to contend with a robust supply of

Compatible Parts, which are typically sold to Harley owners who were not covered by

manufacturer warranties or intended to void them.

                                      HARLEY'S MARKET POWER

        48.            Harley-Davidson has substantial market power in both relevant markets. It has

obtained market power in the tied market for Compatible Parts by leveraging its market power in

the tying market, including its illegally restrictive warranty, to force consumers whose Harley

motorcycles are under warranty to purchase its own branded parts or risk voiding their

warranties.


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           49.     Harley-Davidson has a monopoly in the market for large roadgoing motorcycles.

Its market share in this market, according to its own public reporting, is 44.5%.7 The remainder

of the market is-fragmented, and the next four firms in market share are the Japanese Big Four.

           50.     Harley-Davidson also possesses substantial market power in the market for

Compatible Parts. Its next closest competitor, parts seller Custom Chrome, has an annual revenue

of approximately $21.2 million 8 while Harley's revenue for parts in 2021 equaled approximately

$741.8 million. 9

           51.     In its February 2022 guidance, as published in its 2021 10-K, Harley-Davidson

stated that it expected "revenue growth from parts and accessories and apparel and licensing"

and that "growth in revenue from higher-margin parts and accessories and apparel, will more

than offset the expected cost inflation across the supply chain" (emphasis added). 10

                        HARLEY'S ANTICOMPETITIVE TYING CONDUCT

           52.     To maintain its dominant position in the market for paiis, Harley uses its monopoly

power in the large, roadgoing American motorcycle market (and specifically the manufacturer's

warranty bundled with the new bike) to coerce customers not to purchase Compatible Parts from

its competitors. Until Harley-Davidson entered its consent decree with the FTC in June 2022, it did

this by unlawfully tying its warranty to its parts by requiring customers who bought its bikes to

only use Harley-Davidson's Compatible Paits - or else risk voiding the warranty. This is illegal

under the Magnuson-Moss Wairnnty Act. In June 2022, the FTC ordered Harley to stop this



7
    As reported in the company's 10-K for the year ending Dec. 31 , 2021 , available at
https://www.sec.gov/ix?doc=/Archives/edgar/data/793 952/000079395222000014/hog-
20211231.htm.
8
     https://www.datanyze.com/companies/custom-chrome/28581444 .
9
     Id
10   Id.

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practice going forward, but it did not (and lacks the authority to) recoup the past overpayments for

parts from all affected Harley owners.

         53.           Harley-Davidson's anticompetitive conduct has allowed it to charge more for its

parts than it would have been able to, had it limited its warranty terms to what the law allows.

Further, Harley-Davidson's riders have been deprived of access to the full range of aftermarket

parts that the market could support. While there is a market for parts that competitors participate in,

Harley owners whose bikes were under warranty were not free to choose from that array of parts

because the choice to use competitor parts came with the threat of loss of warranty coverage,

which warped the market dynamics and enabled Harley-Davidson to charge supracompetitive

prices that are paid by all purchasers of Harley-Davidson branded parts.

                                        INJURY TO COMPETITION

         54.           Harley-Davidson's anticompetitive practices in tying its own branded parts to its

motorcycles and warranties through the restrictive warranty provisions have restrained trade, and

have preserved and entrenched Harley-Davidson's market power. Harley-Davidson's conduct

has injured competition in the market for parts and has caused injury to owners in the form of

anti-competitive pricing for parts.

         55.           The injury to competition has caused injury to its competitors, as well as antitrust

price injury (i.e., supracompetitive prices) to its direct customers. Through those direct purchasers

who resell Harley-Davidson Compatible Parts, that antitrust injmy is then passed through the

chain of distribution to consumers who own Harleys and purchase Compatible Parts. Harley

motorcycle owners have paid higher prices for parts because of the tying.

         56.           Harley-Davidson's tying was unlawful under the Magnuson-Moss Warranty Act.

It had and could have no legitimate business or pro-competitive justifications, because it was

unlawful.


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                                   CLASS ACTION ALLEGATIONS

         57.      Plaintiff brings this class action pursuant to Federal Rules of Civil Procedure

23(a) and 23(b)(3) on behalf of the proposed Class, and alternative state Subclasses, defined

below. Unless otherwise specified, these are referred to collectively as the Class.

                  All owners of Harley-Davidson roadgoing motorcycles who
                  indirectly purchased Harley-Davidson Compatible Parts from six
                  years before the filing of this Complaint until the anticompetitive
                  effects of Defendant's conduct cease (the "Class Period") in any of
                  the Indirect-Purchaser Jurisdictions specified below.

                  Excluded from the Class are Defendant, its parent companies,
                  subsidiaries, and affiliates; federal government entities and
                  instrumentalities of the federal government; states and their
                  subdivisions, agencies, and instrumentalities; and all judges and
                  court staff assigned to this matter.

         58.      The Class is so numerous that joinder of all members would be impracticable.

While Plaintiff does not know the exact number of Class members, on information and belief,

there are thousands of Class members.

         59.      Common questions of law and fact exist as to all Class members. Defendants'

conduct was generally applicable to all Class members, thereby making appropriate relief with

respect to the Class as a whole. Such questions of law and fact common to the Classes include,

but are not limited to:

                  a.      Whether Defendant possesses market power m the market for large,

                          American, road-going motorcycles;

                  b.      Whether Defendant possesses market power in the market for Compatible

                          Parts;

                  c.      Whether Defendant acquired or maintained market power in the market for

                          Compatible Parts by anticompetitive conduct, including its illegally

                          restrictive warranty;


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                  d.     Whether Defendant coerced consumers who own Harley motorcycles to

                         purchase its own branded Compatible Pmis (e.g., through its illegally

                         restrictive warranty);

                  e.     Whether Defendant's conduct caused antitrust injury to consumers in the

                         form of supracompetitive prices;

                  f.     Whether Defendant's conduct violated the state antitrust laws alleged in

                         this Complaint;

                  g.     Whether     Defendant's    conduct    caused    Class   members      to   pay

                         supracompetitive prices for Compatible Parts;

                  h.     The appropriate relief for Class members, including the measure of

                         damages.

         60.      Plaintiff's claims are typical of the claims of the absent Class members, and

Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff and all members of

the Class were similarly affected by Defendant's wrongful conduct in that they all paid

supracompetitive prices for Harley-brand Compatible Parts.

         61.      Plaintiff's claims all arise out of the same common course of conduct giving rise to

the claims of the other Class members. Plaintiff's interests are coincident with, and not antagonistic

to, those of the other members of the Class that Plaintiff seeks to represent. Plaintiff is represented

by counsel who are competent and experienced in the prosecution of antitrust and class action

litigation.

         62.      The questions of law and fact common to the Class members predominate over

any questions affecting only individual members, including legal and factual issues relating to

liability and damages.




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          63.          Class action treatment is a superior method for the fair and efficient adjudication of

the controversy. Among other things, class action treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of evidence, effort and expense that numerous

individual actions would engender. The benefits of proceeding through the class mechanism,

including providing injured persons or entities with a method for obtaining redress for claims that

it might not be practicable to pursue individually, substantially outweigh any difficulties that may

arise in management of this class action.

          64.          The prosecution of separate actions by individual Class members would create a

risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

Defendants. Defendants have acted on grounds generally applicable to the Class, thereby making

final injunctive relief appropriate with respect to the Class as a whole.

                                             CAUSES OF ACTION

                                                  COUNTI
                                        Alabama Code §§ 6-5-60 et seq.
                                       (On Behalf of the Alabama Class)

          65.          The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          66.          Alabama Class members purchased Harley-Davidson Compatible Parts within

Alabama during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          67.          Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occtmed within Alabama.




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          68.          Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Alabama, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          69.          Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Alabama.

          70.          As a direct and proximate result of Defendant's unlawful conduct, members of the

Alabama Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.

                                                 COUNT II
                                     Arizona Rev. Stat.§§ 44-1401 et seq.
                                      (On Behalf of the Arizona Class)

          71 .         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          72.          Arizona Class members purchased Harley-Davidson Compatible Parts within

Arizona during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          73.          Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Arizona.

          74.          Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Arizona, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.


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          75.          Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Arizona.

          76.          As a direct and proximate result of Defendant's unlawful conduct, members of the

Arizona Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.

                                               COUNT III
                                   Arkansas Deceptive Trade Practices Act
                                      Arkansas Code § 4-88-101 et seq.
                                     (On Behalf of the Arkansas Class)

          77.          The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          78.          Arkansas Class members purchased Harley-Davidson Compatible Pmis within

Arkansas during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          79.          Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Arkansas.

          80.          Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Arkansas, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          81.          Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Arkansas.

          82.          As a direct and proximate result of Defendant's unlawful conduct, members of the

Arkansas Class have been injured in their business or prope1iy and are threatened with further
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mJury m that they paid supra-competitive pnces for Compatible Parts due to Defendant's

unlawful conduct.

                                                  COUNTIV
                           California Business and Professions Code §§ 16720, 16750
                                      (On Behalf of the California Class)

          83.          The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          84.          California Class members purchased Harley-Davidson Compatible Parts within

California during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          85.          Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within California.

          86.          Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within California, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          87.          Defendant's unlawful conduct substantially affected intrastate trade and

commerce in California.

          88.          As a direct and proximate result of Defendant's unlawful conduct, members of the

California Class have been injured in their business or property and are threatened with fmiher

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                            COUNTV
                         District of Columbia Code Ann. §§ 28-4501 et seq.
                           (On Behalf of the District of Columbia Class)

          89.     The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          90.     District of Columbia Class members purchased Harley-Davidson Compatible

Parts within the District of Columbia during the Class Period. But for Defendant's conduct set

forth herein, the price of the Compatible Parts would have been lower.

          91.     Through its unlawful tying scheme, Defendant acted m restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within the District of Columbia.

          92.     Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within the District of Columbia, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the Compatible Parts market.

          93.     Defendant's unlawful conduct substantially affected intrastate trade and

commerce in the District of Columbia.

          94.     As a direct and proximate result of Defendant's unlawful conduct, members of the

District of Columbia Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                             COUNT VI
                         Florida Deceptive and Unfair Trade Practices Act
                                  Fla. Stat. §§ 501.201(2), et seq.
                                (On Behalf of the Florida Class)

          95.     The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          96.     Florida Class members purchased Harley-Davidson Compatible Parts within

Florida during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          97.     Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occun-ed within Florida.

          98.     Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occun-ed within Florida, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          99.     Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Florida.

          100.    As a direct and proximate result of Defendant's unlawful conduct, members of the

Florida Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                                COUNT VII
                                            Hawaii Antitrust Act
                                        Haw. Rev. Stat.§ 480-1, et seq.
                                       (On Behalf of the Hawaii Class)
          101.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          102.         Hawaii Class members purchased Harley-Davidson Compatible Pmis within

Hawaii during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          103.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Hawaii.

          104.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Hawaii, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          105.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Hawaii.

          106.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Hawaii Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                                      COUNT VIII
                                                 Illinois Antitrust Act
                                       740 Ill. Comp. Stat. Ann. 10/3(1), et seq.
                                           (On Behalf of the Illinois Class)

          107.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          108.         Illinois Class members purchased Harley-Davidson Compatible Parts within

Illinois during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          109.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Illinois.

          110.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Illinois, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          111.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Illinois.

          112.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Illinois Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                                 COUNTIX
                       Illinois Consumer Fraud and Deceptive Business Practices Act
                                  815 Ill. Comp. Stat. Ann. 505/lOa, et seq.
                                       (On Behalf of the Illinois Class)

          113.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          114.         Illinois Class members purchased Harley-Davidson Compatible Parts within

Illinois during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          115.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Illinois.

          116.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Illinois, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          117.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Illinois.

          118.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Illinois Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                                COUNTX
                                         Iowa Code §§ 553.1 et seq.
                                        (On Behalf of the Iowa Class)

          119.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          120.         Iowa Class members purchased Harley-Davidson Compatible Parts within the

Iowa during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          121.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Iowa.

          122.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Iowa, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          123.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Iowa.

          124.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Iowa Class have been injured in their business or property and are threatened with further injury

in that they paid supra-competitive prices for Compatible Parts due to Defendant's unlawful

conduct.




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                                                COUNT XI
                                      Kansas Stat. Ann§§ 50-101 et seq.
                                       (On Behalf of the Kansas Class)

          12 5.        The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          126.         Kansas Class members purchased Harley-Davidson Compatible Pmis within the

Kansas during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          127.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Kansas.

          128.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Kansas, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          129.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Kansas.

          130.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Kansas Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                           COUNT XII
                              Maine Monopolies and Profiteering Law
                                Me. Rev. Stat. tit. 10, § 1101 et seq.
                                  (On Behalf of the Maine Class)

          13 1.   The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          132.    Maine Class members purchased Harley-Davidson Compatible Parts within

Maine during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          133.    Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Maine.

          134.    Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Maine, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          135.    Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Maine.

          136.    As a direct and proximate result of Defendant's unlawful conduct, members of the

Maine Class have been injured in their business or property and are threatened with further injury

in that they paid supra-competitive prices for Compatible Parts due to Defendant's unlawful

conduct.




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                                               COUNT XIII
                                  Massachusetts Consumer Protection Law
                                       Mass. Gen. Laws Chapter 93A
                                   (On Behalf of the Massachusetts Class)

          137.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          138.         Massachusetts Class members purchased Harley-Davidson Compatible Parts

within Massachusetts during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          139.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Massachusetts.

          140.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Massachusetts, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          141.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Massachusetts.

          142.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Massachusetts Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                              COUNT XIV
                              Michigan Compiled Laws Ann.§§ 445.771 et seq.
                                     (On Behalf of the Michigan Class)

          143.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          144.         Michigan Class members purchased Harley-Davidson Compatible Parts within

Michigan during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          145.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Michigan.

          146.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Michigan, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          147.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Michigan.

          148.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Michigan Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                               COUNT XV
                                   Minnesota Ann. Stat. §§ 325D.49 et seq.
                                    (On Behalf of the Minnesota Class)

          149.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          150.         Minnesota Class members purchased Harley-Davidson Compatible Parts within

Minnesota during the Class Period. But for Defendant's conduct set fo1ih herein, the price of the

Compatible Parts would have been lower.

          151.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Minnesota.

          152.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Paiis market, a substantial part of which

occmTed within Minnesota, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          153.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Minnesota.

          154.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Minnesota Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                                COUNT XVI
                                   Mississippi Code Ann.§§ 75-21-1 et seq.
                                    (On Behalf of the Mississippi Class)

          15 5.        The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          156.         Mississippi Class members purchased Harley-Davidson Compatible Parts within

Mississippi during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          157.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Mississippi.

          158.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Mississippi, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          159.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Mississippi.

          160.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Mississippi Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                               COUNT XVII
                                    Missouri Merchandising Practices Act
                                         Mo. Stat. §§ 407.010 et seq.
                                     (On Behalf of the Missouri Class)

          161.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          162.         Missouri Class members purchased Harley-Davidson Compatible Parts within the

Missouri during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          163.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occmTed within Missouri.

          164.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Missouri, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          165.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Missouri.

          166.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Missouri Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                       COUNT XVIII
                  Montana Unfair Trade Practices and Consumer Protection Act
                               Mont. Code§§ 30-14-101, et seq.
                              (On Behalf of the Montana Class)

          167.    The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          168.    Montana Class members purchased Harley-Davidson Compatible Parts within the

Montana during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          169.    Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Montana.

          170.    Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Montana, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          171.    Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Montana.

          172.    As a direct and proximate result of Defendant's unlawful conduct, members of the

Montana Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                              COUNT XIX
                                    Nebraska Rev. Stat. §§ 59-801 et seq.
                                     (On Behalf of the Nebraska Class)

          173.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          174.         Nebraska Class members purchased Harley-Davidson Compatible Parts within

Nebraska during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          175.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Nebraska.

          176.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Nebraska, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          177.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Nebraska.

          178.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Nebraska Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                               COUNT XX
                                 Nevada Rev. Stat. Ann.§§ 598A.010 et seq.
                                     (On Behalf of the Nevada Class)

          179.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          180.         Nevada Class members purchased Harley-Davidson Compatible Parts within

Nevada during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          181.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occun-ed within Nevada.

          182.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occun-ed within Nevada, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          183.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Nevada.

          184.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Nevada Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                               COUNTXXI
                                  New Hampshire Rev. Stat.§§ 356:1 et seq.
                                  (On Behalf of the New Hampshire Class)

          18 5.        The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          186.         New Hampshire Class members purchased Harley-Davidson Compatible Parts

within New Hampshire during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          187.         Through its unlawful tying scheme,_ Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within New Hampshire.

          188.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within New Hampshire, for the purpose of excluding competition or controlling, fixing,

or maintaining prices in the Compatible Parts market.

          189.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in New Hampshire.

          190.         As a direct and proximate result of Defendant's unlawful conduct, members of the

New Hampshire Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                              COUNTXXII
                                   New Mexico Stat. Ann.§§ 57-1-1 et seq.
                                    (On Behalf of the New Mexico Class)

          191.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          192.         New Mexico Class members purchased Harley-Davidson Compatible Parts within

New Mexico during the Class Period. But for Defendant's conduct set forth herein, the price of

the Compatible Parts would have been lower.

          193.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within New Mexico.

          194.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within New Mexico, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          195.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in New Mexico.

          196.         As a direct and proximate result of Defendant's unlawful conduct, members of the

New Mexico Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                            COUNT XXIII
                       The Donnelly Act, New York General Bus. Law§§ 340 et seq.
                                   (On Behalf of the New York Class)

          197.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          198.         New York Class members purchased Harley-Davidson Compatible Parts within

New York during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          199.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within New York.

          200.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within New York, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          201.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in New York.

          202.         As a direct and proximate result of Defendant's unlawful conduct, members of the

New York Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                         COUNTXXIV
                            North Carolina General Stat.§§ 75-1 et seq.
                             (On Behalf of the North Carolina Class)

          203.    The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          204.    North Carolina Class members purchased Harley-Davidson Compatible Parts

within North Carolina during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          205.    Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within North Carolina.

          206.    Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial pmi of which

occurred within North Carolina, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          207.    Defendant's unlawful conduct substantially affected intrastate trade and

commerce in North Carolina.

          208.    As a direct and proximate result of Defendant's unlawful conduct, members of the

North Carolina Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                         COUNTXXV
                         North Dakota Century Code§§ 51-08.1-01 et seq.
                              (On Behalf of the North Dakota Class)

          209.    The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          210.    North Dakota Class members purchased Harley-Davidson Compatible Parts

within North Dakota during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          211.    Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial paii of which

occurred within North Dakota.

          212.    Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within North Dakota, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          213.    Defendant's unlawful conduct substantially affected intrastate trade and

commerce in North Dakota.

          214.    As a direct and proximate result of Defendant's unlawful conduct, members of the

North Dakota Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                             COUNTXXVI
                                 Oregon Revised Statutes§§ 646.705 et seq.
                                     (On Behalf of the Oregon Class)

          215.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          216.         Oregon Class members purchased Harley-Davidson Compatible Parts within

Oregon during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          217.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occmTed within Oregon.

          218.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Oregon, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          219.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Oregon.

          220.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Oregon Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                          COUNTXXVII
                 Rhode Island Antitrust Act, Rhode Island Gen. Law §§ 6-36-1 et seq.
                               (On Behalf of the Rhode Island Class)

          221.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          222.         Rhode Island Class members purchased Harley-Davidson Compatible Parts within

Rhode Island during the Class Period. But for Defendant's conduct set forth herein, the price of

the Compatible Parts would have been lower.

          223.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Rhode Island.

          224.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Rhode Island, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          225.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Rhode Island.

          226.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Rhode Island Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                             COUNT XXVIII
                                 South Carolina Unfair Trade Practices Act
                                     S.C. Code Ann. §§ 39-5-10, et seq.
                                  (On Behalf of the South Carolina Class)

          227.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          228.         South Carolina Class members purchased Harley-Davidson Compatible Parts

within South Carolina during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Pmis would have been lower.

          229.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within South Carolina.

          230.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within South Carolina, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          231.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in South Carolina.

          232.         As a direct and proximate result of Defendant's unlawful conduct, members of the

South Carolina Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                              COUNTXXIX
                               South Dakota Codified Laws§§ 37-1-3.1 et seq.
                                   (On Behalf of the South Dakota Class)

          23 3.        The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          234.         South Dakota Class members purchased Harley-Davidson Compatible Parts

within South Dakota during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          235.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within South Dakota.

          236.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within South Dakota, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          237.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in South Dakota.

          238.         As a direct and proximate result of Defendant's unlawful conduct, members of the

South Dakota Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                         COUNTXXX
                             Tennessee Code Ann.§§ 47-25-101 et seq.
                                (On Behalf of the Tennessee Class)

          23 9.   The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          240.    Tennessee Class members purchased Harley-Davidson Compatible Parts within

Tennessee during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          241.    Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial paii of which

occurred within Tennessee.

          242.    Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Tennessee, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          243.    Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Tennessee.

          244.    As a direct and proximate result of Defendant's unlawful conduct, members of the

Tennessee Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                         COUNTXXXI
                               Utah Code Ann.§§ 76-10-3101 et seq.
                                  (On Behalf of the Utah Class)

          245.    The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          246.    Utah Class members purchased Harley-Davidson Compatible Parts within Utah,

and resided in Utah, during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          247.    Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Utah.

          248.    Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Utah, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          249.    Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Utah.

          250.    As a direct and proximate result of Defendant's unlawful conduct, members of the

Utah Class have been injured in their business or property and are threatened with further injury

in that they paid supra-competitive prices for Compatible Parts due to Defendant's unlawful

conduct.




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                                              COUNTXXXII
                                      Vermont Stat. Ann.§§ 2453 et seq.
                                      (On Behalf of the Vermont Class)

          251.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          252.         Vermont Class members purchased Harley-Davidson Compatible Parts within

Vermont during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Pmis would have been lower.

          253.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Vermont.

          254.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Vermont, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          255.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Vermont.

          256.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Vermont Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                              COUNT XXXIII
                                     West Virginia Code§§ 47-18-1 et seq.
                                    (On Behalf of the West Virginia Class)

          257.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          258.         West Virginia Class members purchased Harley-Davidson Compatible Parts

within West Virginia during the Class Period. But for Defendant's conduct set forth herein, the

price of the Compatible Parts would have been lower.

          259.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within West Virginia.

          260.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within West Virginia, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          261.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in West Virginia.

          262.         As a direct and proximate result of Defendant's unlawful conduct, members of the

West Virginia Class have been injured in their business or property and are threatened with

further injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.




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                                              COUNTXXXIV
                                       Wisconsin Stat. §§ 133.01 et seq.
                                      (On Behalf of the Wisconsin Class)

          263.         The allegations in the preceding paragraphs are incorporated as if fully stated

herein.

          264.         Wisconsin Class members purchased Harley-Davidson Compatible Patis within

Wisconsin during the Class Period. But for Defendant's conduct set forth herein, the price of the

Compatible Parts would have been lower.

          265.         Through its unlawful tying scheme, Defendant acted in restraint of, or to

monopolize, trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Wisconsin.

          266.         Defendant established, maintained, or used a monopoly, or attempted to establish a

monopoly, of trade or commerce in the Compatible Parts market, a substantial part of which

occurred within Wisconsin, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the Compatible Parts market.

          267.         Defendant's unlawful conduct substantially affected intrastate trade and

commerce in Wisconsin.

          268.         As a direct and proximate result of Defendant's unlawful conduct, members of the

Wisconsin Class have been injured in their business or property and are threatened with further

injury in that they paid supra-competitive prices for Compatible Parts due to Defendant's

unlawful conduct.

                                           PRAYER FOR RELIEF

          269.         Plaintiffs demand judgment against Defendant as follows:

                       a.     The Court determine that this action may be maintained as a class action

                              under Federal Rules of Civil Procedure 23(a) and 23(b)(3), appoint


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                               Plaintiff as Class Representative, and his counsel of record as Class

                               Counsel, and direct that a practicable time notice of this action be given to

                               the Class.

                       b.     Judgment that Defendant's conduct violates the state laws asserted in this

                               Complaint, which permit indirect purchasers to cover damages for

                              antitrust violations.

                       c.      Plaintiff and the Class recover damages to the maximum amount allowed

                              by law.

                       d.      Plaintiff recover reasonable attorneys' fees and costs as allowed by law.

                       e.      Plaintiff recover pre- and post-judgment interest at the highest rate

                              allowed by law.

                       f.      Plaintiff and the Class be granted such other and further relief as the Court

                              deems just and proper.

                                                 JURY DEMAND

        270.           Plaintiff demands a trial by jury as to all matters so triable.


Dated: November 18, 2022                               ls/Arthur N. Bailey
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                                      W. Joseph Bruckner (pro hac vice forthcoming)
                                      Heidi M. Silton (pro hac vice forthcoming)
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